438 F.2d 1026
    76 L.R.R.M. (BNA) 2623, 64 Lab.Cas.  P 11,512
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.NEW FERN RESTORIUM COMPANY, Respondent.No. 30325 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir., 1970,431 F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Feb. 19, 1971.
    
      Harold A. Boire, Director, Region 12, N.L.R.B., Tampa, Fla., Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen., Counsel, Eugene B. Granof, Frank Vogl, Attys., N.L.R.B., Washington, D.C., for petitioner.
      John K. Pickens, Alexandria, Va., for respondent.
      Application for Enforcement of an Order of the National Labor Relations Board (Florida Case).  Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    Enforced.  See Local Rule 21.1
    
      1
      Enforced.
    
    
      
        1
         Local Rule 21
        When the court determines that any one or more of the following circumstances exists and is dispositive of a matter submitted to the court for decision: (1) that a judgment of the district court is based on findings of fact which are not clearly erroneous; (2) that the evidence in support of a jury verdict is not insufficient; (3) that the order of an administrative agency is supported by substantial evidence on the record as a whole; (4) that no error of law appears; and the court also determines that an opinion would have no precedential value, the judgment or order may be affirmed or enforced without opinion.  See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    